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 9 Attorneys for Defendant ELIZABETH A. HOLMES
10

11                                   UNITED STATES DISTRICT COURT

12                                NORTHERN DISTRICT OF CALIFORNIA

13                                           SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                      ) Case No. CR-18-00258-EJD-NC
15                                                  )
             Plaintiff,                             ) STIPULATION AND ORDER
16                                                  )
        v.                                          )
17                                                  ) Hon. Nathanael M. Cousins
     ELIZABETH HOLMES and                           )
18   RAMESH “SUNNY” BALWANI,                        )
                                                    )
19           Defendants.                            )
                                                    )
20                                                  )

21                                              STIPULATION
22           Defendant Elizabeth A. Holmes and the United States of America, by and through their counsel,
23 stipulate as follows:

24                WHEREAS, On November 20, 2020, the government filed a Motion for an Order that
25 Defendants Lack Individual Privilege Interest in Theranos Corporate Documents (“Motion”), ECF No.

26 599;

27                WHEREAS, Under the Court’s Local Rules, Ms. Holmes’ response is due November 27,
28 2020;

     STIPULATION AND ORDER CR-18-00258
     EJD-NC                                         1
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 1               WHEREAS, due to pre-existing commitments and the Thanksgiving holiday, Ms. Holmes’

 2 defense counsel requires additional time to prepare and file a response;

 3               WHEREAS, the parties have met and conferred and agree on, and respectfully request that

 4 the Court order, the following briefing schedule for the Motion: Ms. Holmes’ response due December 4,

 5 2020, and the government’s reply, if any, due December 9, 2020.

 6          THEREFORE, the parties stipulate and agree that the Court should enter the order below.

 7          IT IS SO STIPULATED.

 8 DATED: November 24, 2020                             Respectfully Submitted,

 9
10                                                      /s/ Lance Wade
                                                        LANCE WADE
11                                                      Attorney for Elizabeth Holmes
12
     DATED: November 24, 2020
13
                                                        STEPHANIE M. HINDS
14                                                      Attorney for the United States,
                                                        Acting Under Authority Conferred
15                                                      By 28 U.S.C. § 515
16
                                                        /s/ Robert S. Leach
17                                                      ROBERT S. LEACH
                                                        JEFF SCHENK
18                                                      JOHN C. BOSTIC
                                                        VANESSA BAEHR-HONES
19                                                      Assistant United States Attorneys
20
                                                   ORDER
21
            For the reasons set forth above, and good cause shown, IT IS ORDERED that Ms. Holmes’
22
     response to the Motion shall be due December 4, 2020, and the government’s reply, if any, shall be due
23
                                                                                   ISTRIC
     December 9, 2020.
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24                                                                          TA
                                                                                                  O




            IT IS SO ORDERED.
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                                                                      ED




                                                                                                    RT




25
                                                                  UNIT




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                                                                                                          R NIA




26
              November 25, 2020
     DATED: _______________                                     _____________________________
                                                                                                  ns
                                                                                         M. Cousi
                                                                  NO




27                                                              Hon. Nathanael      nael Cousins
                                                                                 thaM.
                                                                        Judge Na
                                                                                                          FO




                                                                United States Magistrate Judge
                                                                   RT




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28                                                                         ER
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     STIPULATION AND ORDER CR-18-00258                                                    R
     EJD-NC                                         2
